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                  IN THE UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

     IN RE:                                         * CASE NO.: 19-69358-pwb
                                                    *
     Diane Ellis,                                   *
                                                    * CHAPTER: 7
                                                    *
                                                    *
           Debtor                                   *
                                                    *
     Diane Ellis,                                   *
                                                    *
                                                    *
                 MOVANT,                            *
                               VS.                  *
     Citibank, N.A.                                 *      Civil Action File No.
                                                    *         19MS120743
                 RESPONDENT.                        *

                          MOTION TO AVOID JUDICIAL LIEN

       COMES NOW, Debtor, Diane Ellis, and through counsel moves for an order avoiding a

lien held by Respondent pursuant to 11 U.S.C. Section 522(f) and alleges the following:

                                               1.

       Respondent obtained a judgment against the Debtor on or about 2019 in the Magistrate

Court of Fulton County - Georgia, and the amount of that judgment lien on the petition date

was $5,563.00.

                                               2.

       Pursuant to 11 U.S.C. Section 522 and O.C.G.A. 44-13-100, Debtor properly claimed as

exempt on Schedule C, including all allowed amendments to schedule C, the following property:
              Case 19-69358-pwb                      Doc 17           Filed 12/23/19 Entered 12/23/19 06:53:31                               Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Diane Ellis
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           19-69358-pwb
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      110 Cottsford Drive Atlanta, GA                                                                                            O.C.G.A. § 44-13-100(a)(1)
      30331 Fulton County
                                                                     $200,000.00                                $21,500.00
      Line from Schedule A/B: 1.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      4 Bedrooms, Living Room, Dining                                                                                            O.C.G.A. § 44-13-100(a)(4)
      Room, W/D
                                                                       $3,000.00                                  $3,000.00
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      3 TVs, DVD, Radio                                                                                                          O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                          $300.00                                   $300.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothes and shoes                                                                                                          O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                          $100.00                                   $100.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Costume Jewelry, Rings, Bracelets                                                                                          O.C.G.A. § 44-13-100(a)(5)
      Line from Schedule A/B: 12.1
                                                                          $100.00                                   $100.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 19-69358-pwb                        Doc 17          Filed 12/23/19 Entered 12/23/19 06:53:31                                 Desc Main
                                                                     Document     Page 3 of 6
 Debtor 1    Diane Ellis                                                                                 Case number (if known)     19-69358-pwb
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash                                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                            $1.00                                    $1.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase Bank                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                         $300.00                                  $300.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Chase Bank                                                                                                          O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                            $0.00                                    $0.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Allstate Homeowner's Insurance                                                                                               O.C.G.A. § 44-13-100(a)(6)
     Policy
                                                                            $0.00                                    $0.00
     Beneficiary: Diane Ellis                                                             100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     Gerber Term Life Insurance Policy                                                                                            O.C.G.A. § 44-13-100(a)(8)
     Beneficiary: Frank Glaspie
                                                                            $0.00                                    $0.00
     Line from Schedule A/B: 31.2                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                3.

       The value of each claimed exemption in the above property, as shown on Schedule C, is

equal to or greater than the market value of that property, as accurately reflected on Schedules A

and B, except the residence which has a value of $200,000.00 and is subject to a purchase

money lien of $150,038.00, leaving $49,962.00 in equity, an amount equal to or less than the

claimed exemption.



       WHEREFORE, Debtor is entitled to entry of an Order avoiding Respondent’s lien against

the exempt property, as set forth above.

                                             Respectfully submitted
                                             CLARK & WASHINGTON, PC

                                             /s/
                                             Jessica Douglas GA Bar No. 340570
                                             Attorneys for Debtor

       CLARK & WASHINGTON, PC
       3300 Northeast Expressway
       Building 3
       Atlanta, GA 30341
       (404) 522-2222
       Fax(770)220-0685
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     IN RE:                                          * CASE NO.: 19-69358-pwb
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     Diane Ellis,                                    *
                                                     * CHAPTER: 7
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            Debtor                                   *
                                                     *
     Diane Ellis,                                    *
                                                     *
                                                     *
                 MOVANT,                             *
                                   VS.               *
     Citibank, N.A.                                  *      Civil Action File No.
                                                     *         19MS120743
            RESPONDENT.                              *

         NOTICE OF REQUIREMENT OF RESPONSE TO MOTION TO
 AVOID JUDICIAL LIEN ON EXEMPT PROPERTY AND OF TIME TO FILE SAME

       NOTICE IS HEREBY GIVEN that a Motion to avoid a judicial lien on exempt property
                                                                                12/23/2019
pursuant to 11 U.S.C. Section 522 has been filed in the above-styled case on _______________.
       NOTICE IS FURTHER GIVEN that, pursuant to BLR 6008-1(b) NDGA, the Respondent
must file a response to the Motion within 21 days after service, exclusive of the day of service,
and serve a copy of same on Movants. In the event no response is timely filed and served, then
the Bankruptcy Court may enter an order granting the relief sought.
                                                     Respectfully submitted
                                                     CLARK & WASHINGTON, LLC

                                                     /s/
                                                     Jessica Douglas GA Bar No. 340570
       CLARK & WASHINGTON, PC
       3300 Northeast Expressway
       Building 3
       Atlanta, GA 30341
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 IN RE:                                            * CASE NO.: 19-69358-pwb
                                                   *
 Diane Ellis,                                      *
                                                   * CHAPTER: 7
                                                   *
                                                   *
       Debtor                                      *


                                   CERTIFICATE OF SERVICE
       I certify that I have this date served the following parties with a copy of the within
"Notice Of Requirement Of Response To Motion To Avoid Judicial Lien On Exempt Property
And Of Time To File Same" and "Motion To Avoid Judicial Lien" by placing true copies of
same in the United States Mail with adequate postage affixed to insure delivery, addressed to:
 Michael J. Bargar- Chapter 7 Trustee             Diane Ellis
 Arnall Golden Gregory LLP                        110 Cottsford Drive SW
 Suite 2100                                       Atlanta, GA 30331
 171 17th Street, NW
 Atlanta, GA 30363                                Citibank, N.A.
                                                  James G Whiddon, III, Attorney
 We served by Certified Mail                      Aldridge Pite Haan, LLP
 Recpt #: 7018 3090 0002 1931 5522                P.O.Box 52815
 Citibank, N.A.                                   Atlanta, GA 30355
 Mary McNiff, CEO
 388 Greenwich Street
 New York, NY 10013

                                                    Dated: 12/23/2019

                                                    /s/
                                                    Jessica Douglas GA Bar No. 340570
                                                    Attorneys for Debtor

       CLARK & WASHINGTON, PC
       3300 Northeast Expressway
       Building 3
       Atlanta, GA 30341
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